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                                Nebraska Court of A ppeals A dvance Sheets
                                     26 Nebraska A ppellate R eports
                                               IN RE INTEREST OF JOSHUA G.
                                                   Cite as 26 Neb. App. 411



                                        In   re I nterest of
                                                           Joshua G., a child
                                                 under18 years of age.
                                             State of Nebraska, appellee,
                                                v. Fred G., appellant.
                                                         ___ N.W.2d ___

                                             Filed October 9, 2018.    No. A-17-1309.

                1.	 Parental Rights: Notice. Proceedings to terminate parental rights must
                     employ fundamentally fair procedures satisfying the requirements of due
                     process; this rule applies to notice requirements.
                2.	 Parental Rights: Due Process: Notice: Jurisdiction. In proceedings to
                     terminate parental rights, once the court acquires jurisdiction over the
                     person, due process still requires that such person be afforded reason-
                     able notice of further proceedings.
                3.	 Service of Process: Notice. Service by publication under Neb. Rev.
                     Stat. § 43-268(2) (Reissue 2016) can be made only after a reasonably
                     diligent search fails to locate the party to be served.
                 4.	 ____: ____. A reasonably diligent search for the purpose of justifying
                     service by publication does not require the use of all possible or con-
                     ceivable means of discovery, but is such an inquiry as a reasonably pru-
                     dent person would make in view of the circumstances and must extend
                     to those places where information is likely to be obtained and to those
                     persons who, in the ordinary course of events, would be likely to receive
                     news of or from the absent person.
                 5.	 ____: ____. Whether all reasonable means to qualify a search as a “rea-
                     sonably diligent” one have been exhausted must be determined by the
                     circumstances of each particular case.

                 Appeal from the County Court for Scotts Bluff County:
               James M. Worden, Judge. Affirmed.
                 Darin J. Knepper, Deputy Scotts Bluff County Public
               Defender, for appellant.
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              26 Nebraska A ppellate R eports
                  IN RE INTEREST OF JOSHUA G.
                      Cite as 26 Neb. App. 411
   Danielle Larson, Deputy Scotts Bluff County Attorney,
for appellee.

  Moore, Chief Judge, and Bishop and A rterburn, Judges.

  A rterburn, Judge.
                        INTRODUCTION
   Fred G. appeals the order of the county court for Scotts
Bluff County which terminated his parental rights to his son,
Joshua G. On appeal, Fred asserts that he was not provided
with proper notice of the termination proceedings because the
State’s affidavit for service by publication was legally insuf-
ficient. As a result, Fred argues he was denied his due process
right to participate in the termination proceedings. For the
reasons set forth herein, we find Fred’s assertion to be without
merit, and we affirm the decision of the county court to termi-
nate his parental rights.

                        BACKGROUND
   The juvenile court proceedings below involve Joshua, born
in January 2015, and his parents, Fred and Martha H. Martha
previously relinquished her parental rights to Joshua. As a
result, she is not a party to this appeal and will be discussed
only to the extent necessary to provide context.
   On May 10, 2016, when Joshua was almost 18 months old,
the State filed a juvenile court petition alleging that Joshua
was a juvenile as described by Neb. Rev. Stat. § 43-247(3)(a)
(Supp. 2015) due to the faults or habits of both Fred and
Martha. Specifically, the petition alleged that Fred and Martha
had failed to provide Joshua with safe and stable housing and
with necessary care. In addition, it alleged that Joshua was at
risk for harm due to Fred and Martha’s engaging in domestic
violence and using illegal substances. Fred was personally
served with the petition.
   A first appearance hearing was held on May 19, 2016. Fred
appeared at this hearing, affirmed that he had been personally
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         Nebraska Court of A ppeals A dvance Sheets
              26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
served with a copy of the petition, and entered a denial to the
allegations contained within the petition. Fred appeared at a
subsequently held hearing in July, in order to contest Joshua’s
placement with his maternal grandparents.
   Fred appeared in the county court again on August 15, 2016.
At that time, a contested adjudication hearing was held. At
this hearing, the State presented evidence that Fred had been
repeatedly arrested for assaulting Martha, including on one
occasion after the juvenile court petition had been filed and an
active protection order was in place. Fred had been in jail since
February. The State offered evidence to demonstrate that Fred
used methamphetamine.
   Fred testified at the hearing and denied that he was cur-
rently using drugs. However, he admitted to assaulting Martha.
He testified that on one occasion, they got into an altercation
and, while holding Joshua, Fred “hit [Martha] right in the eye
as hard as [he] possibly could [and] gave her . . . basically
two black eyes from it.” He testified that he had recently
been released from jail and was renting a two-bedroom house.
Ultimately, the county court adjudicated Joshua as a child
within the meaning of § 43-247(3)(a) as to Fred.
   Subsequent hearings were held in September and December
2016 and in February and April 2017. Fred appeared at
and participated in each of these hearings. Shortly after
the April 2017 hearing, Fred appeared at an office of the
Department of Health and Human Services (the Department)
and indicated he wished to relinquish his parental rights to
Joshua. He filled out all of the necessary paperwork, but
then admitted that he was under the influence of drugs and,
in fact, had taken drugs right before arriving. As a result
of this admission, the Department could not accept Fred’s
relinquishment.
   At a hearing in July 2017, Fred did not appear. The State
offered evidence which demonstrated that Fred had not par-
ticipated in any services, including visitation with Joshua,
since April. In addition, Martha informed the court that Fred
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                  IN RE INTEREST OF JOSHUA G.
                      Cite as 26 Neb. App. 411
was no longer in Nebraska and that she did not believe he
was going to return. She stated, “[H]e works in Cheyenne,
Wyoming, and he stays between there and Fort Collins,
Colorado.”
   On September 13, 2017, the State filed a motion to termi-
nate Fred’s parental rights to Joshua. At a subsequent hearing,
the State informed the county court that it had been unable
to serve Fred with the motion to terminate “because nobody
knows his address.”
   The State filed a motion for service by publication on
October 12, 2017. In the motion, the State alleged that “serv­
ice cannot be made upon [Fred] with reasonable diligence by
either personal service or by leaving notice of summons at
[Fred’s] usual place of residence which is unknown at this
time.” Attached to the motion was an affidavit which alleged,
among other things, that the State had attempted, unsuccess-
fully, to serve Fred at his last known address in Nebraska. The
State also alleged that the Department had not had contact with
Fred since April and that he was believed to be somewhere in
Cheyenne, Wyoming.
   The county court granted the State’s motion to serve Fred by
publication. Notice of the motion to terminate Fred’s parental
rights to Joshua and the date of the scheduled hearing on the
motion was published in a Scottsbluff, Nebraska, newspaper on
October 22 and 29 and November 5, 2017.
   After the State had published notice of the motion to ter-
minate Fred’s parental rights, Fred’s court-appointed counsel
filed a document disclosing potential witnesses for the ter-
mination hearing. Included in the list of potential witnesses
was Fred.
   The termination hearing was held on November 20, 2017.
Fred did not appear at the hearing. At the start of the hear-
ing, the county court noted that Fred’s counsel had previously
filed a motion to continue the hearing, but that the motion had
been denied. A copy of the motion to continue is not included
in our record. The State offered into evidence an exhibit
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              26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
demonstrating that Fred had been served “via publication.”
Fred’s counsel did not object to the exhibit.
   The State went on to present evidence in support of
its motion to terminate Fred’s parental rights. Part of the
State’s evidence addressed Fred’s current whereabouts. The
Department caseworker assigned to the family’s case, Breanna
Bird, testified that she had not had any contact with Fred from
April 2017 to approximately 2 weeks prior to the termina-
tion hearing. At that time, she was able to reach Fred on the
telephone. She indicated that Fred refused to tell her where
he was, but he did say he was “in a different time zone.” Bird
testified that she did inform Fred that a motion to terminate his
parental rights had been filed. However, she could not provide
any more details because Fred immediately indicated that he
was at work and could not talk at that time. He told Bird that
he would be able to speak after work. However, when Bird
called him back later, Fred did not answer.
   Bird also testified that in July 2017, Martha told her that
both she and Fred were residing in Wyoming. However,
Martha also told Bird that she was “wanting to leave Fred
there.” By September, when the motion to terminate Fred’s
parental rights was filed, Martha told Bird that she did not
know where Fred was. She thought he might be back in
Nebraska, but had not had any contact with him.
   Other evidence revealed that after April 2017, Fred had sent
text messages to Joshua’s foster mother to ask about Joshua.
However, the text messages stopped about a month prior to the
termination hearing and Joshua’s foster mother did not know
where Fred was located.
   At the close of the State’s evidence, Fred’s counsel asked
that the county court not terminate Fred’s parental rights at
that time so that Fred could participate in subsequent hear-
ings. Counsel indicated, “[Fred] was unable to be back for his
hearing.” Ultimately, the county court entered an order termi-
nating Fred’s parental rights to Joshua.
   Fred appeals from the county court’s order.
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         Nebraska Court of A ppeals A dvance Sheets
              26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
                  ASSIGNMENT OF ERROR
  On appeal, Fred asserts that the State’s affidavit for service
by publication was legally insufficient and that, as a result,
he was denied due process because he did not receive proper
notice of the termination proceedings.
                            ANALYSIS
   In its brief to this court, the State argues that Fred has
waived his objections to any insufficiency in the service of
process because he failed to object to the service at any time
prior to the conclusion of the termination hearing. Specifically,
the State argues:
         Despite ample opportunities to raise issue with the
      form of service in this case, counsel for the father waited
      until quite literally the very end of the line. Allowing
      represented parties to wait until after the conclusion of
      the case on the merits to raise issue with the beginning
      of the case is against public policy, ideas about judicial
      efficiency, and case law.
Brief for appellee at 7.
   While the State’s argument regarding whether Fred has
waived any objection to the service is well taken, we need not
decide the issue of waiver in this case. Our record on appeal
clearly provides sufficient evidence to demonstrate that the
State conducted a reasonably diligent search for Fred and that
service by publication was proper.
   Our record discloses that Fred was personally served with
the juvenile court petition filed by the State. In addition, he
was present personally at many of the various hearings held by
the county court, commencing with the first appearance hear-
ing in May 2016 and continuing through a review hearing in
April 2017. Even after Fred stopped appearing at the hearings,
his court-appointed counsel continued to appear on his behalf.
Therefore, there is no question as to the court’s jurisdiction
over Fred. However, Fred was still entitled to notice that a
motion to terminate his parental rights had been filed and when
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               26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
the hearing was to be held on that motion. Neb. Rev. Stat.
§ 43-267(2) (Reissue 2016) provides:
      Notice of the time, date, place, and purpose of any juve-
      nile court hearing subsequent to the initial hearing, for
      which a summons or notice has been served or waived,
      shall be given to all parties either in court, by mail, or in
      such other manner as the court may direct.
   [1,2] In addition, the Nebraska Supreme Court has held
that proceedings to terminate parental rights must employ
fundamentally fair procedures satisfying the requirements of
due process. In re Interest of A.G.G., 230 Neb. 707, 433
N.W.2d 185 (1988). This rule applies to notice requirements.
Id. Once the court acquires jurisdiction over the person, as it
did in this case, due process still requires that such person be
afforded reasonable notice of further proceedings. However,
we note that once a person has appeared and has been afforded
the benefit of counsel, that person has an obligation to keep
counsel and the court informed of his or her whereabouts.
See id. This Fred failed to do. In fact, evidence in our record
suggests that Fred was actively evading the State’s efforts to
locate him.
   Because Fred removed himself from the state in the middle
of the juvenile court proceedings and failed to provide anyone
with his contact information, the State was unable to serve him
with the motion to terminate his parental rights either person-
ally or by mail. As a result, the State requested the court’s
permission to serve the motion by publication.
   [3] Neb. Rev. Stat. § 43-268(2) (Reissue 2016) provides
for service by publication in juvenile court proceedings as
follows:
      [N]otice, when required, shall be given in the manner
      provided for service of a summons in a civil action. Any
      published notice shall simply state that a proceeding
      concerning the juvenile is pending in the court and that
      an order making an adjudication and disposition will be
      entered therein. . . . Such notice shall be published once
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         Nebraska Court of A ppeals A dvance Sheets
              26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
      each week for three weeks, the last publication of which
      shall be at least five days before the time of hearing.
Notice “in the manner provided for service of summons in a
civil action,” as described in § 43-268(2), is provided for in
Neb. Rev. Stat. § 25-517.02 (Reissue 2016), which provides
that service may be made by publication “[u]pon motion and
showing by affidavit that service cannot be made with reason-
able diligence by any other method provided by statute . . . .”
Accordingly, service by publication under § 43-268(2) can be
made only after a reasonably diligent search fails to locate the
party to be served. See In re Interest of A.W., 224 Neb. 764,
401 N.W.2d 477 (1987).
   The crux of Fred’s argument on appeal is that the State did
not sufficiently demonstrate that it had conducted a reasonably
diligent search to locate him and that, as a result, notice by
publication was not proper. Upon our review of the record, we
find that Fred’s assertion lacks merit.
   [4,5] A reasonably diligent search for the purpose of jus-
tifying service by publication does not require the use of all
possible or conceivable means of discovery, but is such an
inquiry as a reasonably prudent person would make in view
of the circumstances and must extend to those places where
information is likely to be obtained and to those persons who,
in the ordinary course of events, would be likely to receive
news of or from the absent person. In re Interest of A.W., supra.
Whether all reasonable means to qualify a search as a “reason-
ably diligent” one have been exhausted must be determined by
the circumstances of each particular case. Id.
   In the State’s affidavit in support of its request to provide
notice by publication, it indicated that it had attempted to
serve Fred with the motion to terminate his parental rights
at his last known address in Nebraska. However, he was no
longer at that address and, in fact, had not had contact with
the Department for approximately 5 months. In addition, the
affidavit indicated that Fred was “believed to be somewhere in
Cheyenne, Wyoming, although an exact address is unknown.”
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         Nebraska Court of A ppeals A dvance Sheets
              26 Nebraska A ppellate R eports
                  IN RE INTEREST OF JOSHUA G.
                      Cite as 26 Neb. App. 411
The affidavit also detailed the Department’s attempt to deter-
mine Fred’s whereabouts through Martha. This attempt was
not successful.
   In determining whether the State conducted a reasonably
diligent search for Fred, we also look to the evidence adduced
at the termination hearing. That evidence reveals that by
September 2017, when the motion to terminate Fred’s paren-
tal rights was filed, Martha was no longer residing with Fred
and did not know where he could be located. Previously, she
had indicated that Fred was somewhere between Cheyenne,
Wyoming, and Fort Collins, Colorado. She also indicated that
Fred had been “hiding” from a warrant. Joshua’s foster mother
had received periodic text messages from Fred since his last
contact with the Department, but she too did not know where
Fred was residing.
   In addition, when Bird was finally able to contact Fred
by telephone 2 weeks prior to the termination hearing, Fred
affirm­atively declined to provide her with his address, instead
simply indicating that he was “in a different time zone.” During
that same telephone call, Bird informed Fred that a motion to
terminate his parental rights had been filed. Fred immediately
ended the conversation before Bird could provide him with
details about the scheduled hearing on the motion. Fred did not
answer Bird’s followup telephone call.
   Given all of the evidence, we find that the State conducted a
reasonably diligent search to locate Fred in order to serve him
with the motion to terminate his parental rights. Of particular
importance to our finding is that Fred voluntarily removed
himself from Nebraska and from Joshua, knowing that the
juvenile court proceedings were pending. After participating
in the proceedings for months, Fred failed to provide his attor-
ney, the court, or the Department with any contact informa-
tion. And, based on Fred’s telephone conversation with Bird
just prior to the hearing, it appears that Fred was purposefully
evading the State’s diligent efforts to locate him. There is
nothing in our record to indicate that Fred took any steps to
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              26 Nebraska A ppellate R eports
                   IN RE INTEREST OF JOSHUA G.
                       Cite as 26 Neb. App. 411
learn more about the motion to terminate his parental rights
or the hearing on the motion after he was informed that the
motion had been filed.
   The State attempted to contact Fred through Martha, who
presumably is the most likely person known to the State
to have received any information about Fred’s whereabouts.
However, it is clear from our record that by the time the State
filed the motion to terminate Fred’s parental rights, Martha
denied having any knowledge of Fred’s location.
   Despite the State’s reasonably diligent efforts, it was unable
to determine what state Fred was living in, let alone his spe-
cific physical address. The county court’s decision to allow the
State to serve the motion to terminate through publication is
adequately supported by the record.
                         CONCLUSION
   Upon our review, we find that the State made a reasonably
diligent search for Fred in order to notify him of the pend-
ing termination proceedings. Because the State was unable to
locate Fred after that search, service by publication was proper
and Fred was not denied his right to due process. After the
service by publication was completed, the county court held
a termination hearing where it heard evidence and ultimately
terminated Fred’s parental rights. Fred does not challenge the
sufficiency of the evidence to terminate his parental rights. We
affirm the order of the county court in all respects.
                                                      A ffirmed.
